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FOR THE wEsTERN DISTRICT OF PENNSYLVANIA AUG 2008

IN THE UNITED STATES DISTRICT COURT

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UNITED STATES OF AMERICA

v. Criminal No. jj 517 Erie
RASHAD LEE WILLIAMS
SHAWN T. HOWARD
a/k/a "Roscoe"

(Under Seal)

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INDICTMENT MEMORANDUM

AND _NOW comes the United States of .America, by its
attorneys, Mary Beth Buchanan, United States Attorney for the
Western District of Pennsylvania, and` Marshall J. Piccinini,
Assistant United States Attorney for said Distriot, and submits
this Indiotment Memorandum to the Court:

I. THE INDICTMENT

A Federal Grand Jury returned a two-count Indictment

against the above-named defendants for alleged violations of

federal law:

DEFENDANTS
COUNT OFFENSE[DATE TITLE{SECTION CHARGED
l Conspiracy to 21 U.S.C. §846 Williams
possess with intent Howard

to distribute and
distribution Of five

(5) grams or more of
cocaine base, a Sobedule
II controlled substance
Between on or about
February 20, 2007

and on or about

February 22, 2007

 

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DEFENDANTS
COUNT OFFENSEZDATE TITLEZSECTION CHARGED
2 Possession with 21 U.S.C. Williams
intent tO §§84l(a)(l) and Howard
distribute and 841(b)(1)(B)(iii)
distribution of 18 U S.C. §2

five (5) grams or

more of cocaine base,

a Schedule 11 controlled
substance

On or about

February 20, 2007

II. ELEMENTS OF THE OFFENSES
A. As to Count 1:

In order for the crime of conspiracy to possess with
intent to distribute and distribution of five (5) grams or more of
cocaine base, in violation of 21 U.S.C. §846 to be established, the
government must prove all of the following essential elements
beyond a reasonable doubt:

1. That two or 1nore persons came to a 1nutual
understanding or agreement to try to accomplish a common and
unlawful plan to distribute and/or possess with intent to
distribute the controlled substance charged in the indictment.

United States v. BOVd, 595 F.Zd 120

(3d. Cir. 1978); United States v.

Garcia, 655 F.Zd 59, 62 (5th Cir.

1981); United States v. Allen, 613

F.Zd 1248, 1253 (Bd Cir. 1980).

2. That the defendant knowingly' and. willfully
became a member of such conspiracy.

United States v. Adams, 759 F.2d

1099, 1114 (Bd Cir.}, cert. denied,
474 U.S. 906 (1985); United Stat€S

 

 

 

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v. Bodolato, 701 F.2d 915, 921-22
(llth Cir. 1983).

3. That cocaine base is a Schedule 11 controlled
substance, pursuant to 21 U.S.C. § 812(c), Schedule 11(a)(4).

4. That the conspiracy had the specific unlawful
purpose of distributing and/or possessing with intent to distribute
five (5) grams or more of cocaine base, 21 U.S.C. §(b)(l)(B)(iii).

Apprendi v. New Jersev, 530 U.S. 466 (2000).

B. As to Count 2:

1n order for the crime of possession with intent to
distribute and distribution of five (5) grams or more of cocaine
base, in violation of 21 U.S.C. §§B41(a)(1) and 841(b)(1)(B)(iii)
to be established, the government must prove all of the following
essential elements beyond a reasonable doubt:

1. That on or about the date set forth, the
defendant distributed or possessed with intent to distribute the
controlled substance charged in the indictment.

United States v. Lartev, 716 F.2d
955, 967 (Zd Cir. 1983); United
States v. Wright, 593 F.2d 105, 107-
108 (9th Cir. 1979); United States
V. Tighe, 551 F.Zd 18, 21 (3d Cir.),
cert. deniedr 434 U.S. 823 (1977).

 

2. That the defendant did so knowingly and
intentionally.

United States v. Jewell, 532 F.2d
697, 699-700 (9th Cir.), Cert.
denied, 426 U.S. 951 (1976); United
States v. Kairouz, 751 F.Zd 467, 469
(1st cir. 1985).

 

 

 

 

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3. That cocaine base is a Schedule 11 controlled
substance, pursuant to 21 U.S.C. §BlZ(c), Schedule 11(a)(4).

4. That the mixture or substance containing a
detectable amount of cocaine base was five (5) grams or more. 21
U.S.C. §841(b}(1)(E)(iii).

Apprendi v. New Jersev, 530 U.S. 466

(2000).
III. PENALTIES
A. As to Count 1: Conspiracy to possess with intent

to distribute and distribution of five (5) grams or
more of cocaine base (21 U.S.C. §846):

1. A term of imprisonment of not less than five
(5) years to a maximum of forty (40) years.

2. A fine not to exceed $2,000,000.

3. A term of supervised release of at least four
(4) years.

For a second or subsequent felony drug conviction that is

finalr whether federal, state, or foreign:

1. A term of imprisonment of not less than ten
(10) years to a maximum of life.

2. A fine not to exceed $4,000,000.

3. A term of supervised release of at least eight

(8) years.

 

 

 

 

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B. As to Count 2: Possession with intent to
distribute and distribution of five (5) grams or
more of cocaine base (21 U.S.C. §§841(a)(1) and
841(b)(1)(B)(iii)):

1. A term of imprisonment of not less than five
(5) years to a maximum of forty (40) years.

2. A fine not to exceed $2,000,000-

3. A term of supervised release of at least four
(4) years.

For a second or subsequent felony drug conviction that is

final, whether federal, stater or foreign:

1. A term of imprisonment of not less than ten
(10) years to a maximum of life.

2. A fine not to exceed $4,000,000.

3. A term of supervised release of at least eight
(B) years.

IV. MANDATORY SPECIAL ASSESSMENT

 

A mandatory special assessment of $100.00 must be imposed
at each count upon which the defendants are convicted, pursuant to
18 U.S.C. §3013.

V. RESTITUTION

Not applicable in this case.

Respectfully submitted,

    

 

MARSIFLL J. P:ccimn\r
Assi tant U.S. Attorney
PA ID No. 56352

 

